                                                                         Case 8:20-bk-11507-ES               Doc 449 Filed 04/08/21 Entered 04/08/21 11:06:11                           Desc
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                                                                                                              UNITED STATES BANKRUPTCY COURT
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                                                                                                               CENTRAL DISTRICT OF CALIFORNIA
                                                                        10
                                                                                                                           SANTA ANA DIVISION
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P ACHULSKI S TAN G Z IE HL & J O NES LLP




                                                                        12   In re:                                                        Case No. 8:20-bk-11507-ES
                                           LOS ANGELES, C ALIFO R NIA




                                                                        13   HCA WEST, INC., et al.,                                       Chapter 11
                                              ATTOR NE YS A T L AW




                                                                        14                             Debtors and Debtors-in              Jointly Administered With Case Nos.:
                                                                                                       Possession.                         8:20-BK-11508-ES and 8:20-BK-11509-ES
                                                                        15
                                                                             Affects:                                                      ORDER GRANTING MOTION FOR
                                                                        16                                                                 ORDER FURTHER EXTENDING THE
                                                                                   All Debtors                                             TIME PERIODS DURING WHICH THE
                                                                        17                                                                 DEBTORS HAVE THE EXCLUSIVE
                                                                                   HCA WEST, INC., ONLY                                    RIGHT TO FILE A PLAN AND TO
                                                                        18                                                                 SOLICIT ACCEPTANCES THEREOF
                                                                                                                                           PURSUANT TO SECTION 1121(D) OF THE
                                                                        19         HAI EAST, INC., ONLY                                    BANKRUPTCY CODE
                                                                        20         HNA, INC., ONLY                                         Date:         April 8, 2021
                                                                                                                    .                      Time:         10:30 a.m. (Pacific Time)
                                                                        21                                                                 Place:        ZoomGov
                                                                        22
                                                                                       Upon the Motion for Order Further Extending the Time Periods During Which the Debtors
                                                                        23
                                                                             Have the Exclusive Right to File a Plan and to Solicit Acceptances Thereof Pursuant to Section
                                                                        24
                                                                             1121(d) of the Bankruptcy Code (the “Motion”);1 and the Court having jurisdiction to consider the
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                                                                             Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of
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                                                                             the Motion and the relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b)(2);
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                                                                                 Capitalized terms not defined herein shall have the meanings used in the Motion.

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                                                                         1   and venue being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that the relief

                                                                         2   requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and all other

                                                                         3   parties in interest; and the Debtors having provided appropriate notice of the Motion and the

                                                                         4   opportunity for a hearing on the Motion under the circumstances and no other or further notice need

                                                                         5   be provided; and the Court having considered the Motion, all pleadings and papers filed in connection

                                                                         6   with the Motion, and the arguments of counsel and evidence proffered at the hearing on the Motion;

                                                                         7   after due deliberation and sufficient cause appearing therefor,

                                                                         8           IT IS HEREBY ORDERED THAT:

                                                                         9           1.         The Motion is GRANTED.

                                                                        10           2.         The Debtors’ exclusive right to file a plan is extended through and including August

                                                                        11   9, 2021.
P ACHULSKI S TAN G Z IE HL & J O NES LLP




                                                                        12           3.         The Debtors’ exclusive right to solicit acceptances from creditors for its plan is
                                           LOS ANGELES, C ALIFO R NIA




                                                                        13   extended through and including October 8, 2021.
                                              ATTOR NE YS A T L AW




                                                                        14           4.         The relief granted herein shall not prejudice the Debtors from seeking further

                                                                        15   extensions upon a showing of cause or parties in interest from seeking to shorten or terminate the

                                                                        16   Debtors’ exclusive rights to file and solicit acceptances of a plan upon a showing of cause.

                                                                        17           5.         The Court retains jurisdiction to interpret and enforce the terms of this Order.

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                                                                               Date: April 8, 2021
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